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                          UNITED STATES DISTRICT COURT
                                            for the
                              MIDDLE DISTRICT OF PENNSYLVANIA

     ANN V. SHEEHAN,                                    )
                                                        )
                         Plaintiff,                     )
                                                        )       Civil Action No. 1:22-CV-1871
                 v.                                     )
                                                        )       Hon. Jennifer P. Wilson
     SHIPPENSBURG UNIVERSITY,                           )
     LAURIE PORTER,                                     )       FILED ELECTRONICALLY
     NIPA BROWDER,                                      )
                                                        )       JURY TRIAL DEMANDED
                                Defendants.             )
                                                        )



                                JOINT CASE MANAGEMENT PLAN

1. Principal Issues
       1.1       Separately for each party, please give a statement summarizing this case:
By plain�ﬀ(s):
Plain�ﬀ seeks damages for viola�ons of her rights under the Americans with Disabili�es Act (as
amended), Family and Medical Leave Act (FMLA), Pennsylvania Human Rela�ons Act (PHRA),
and Rehabilita�on Act against Shippensburg University and claims of aiding and abe�ng against
individual defendants for their ac�ons in furtherance of these viola�ons.


By defendant(s): Defendants dispute Plain�ﬀ’s claims against them as well as damages asserted
by her.




       1.2       The facts the par�es dispute are as follows:
The pleadings in this mater have not yet closed. As such, the Par�es through counsel
recognize that there may be agreement as to some relevant facts as pleadings close and
discovery commences. To date, no agreements of fact have been made.



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Defendants dispute:
       A. TBD
       B.
       C.


agree upon are as follows:
The pleadings in this mater have not yet closed. As such, the Par�es through counsel
recognize that there may be agreement as to some relevant facts as pleadings close and
discovery commences. To date, no agreements of fact have been made.
Defendants agree:
       A. Ann Sheehan was an employee of Shippensburg University


Plain�ﬀs disagree with
TBD
       1.3      The legal issues the par�es dispute are as follows:
The pleadings in this mater have not yet closed. As such, the Par�es through counsel
recognize that there may be agreement as to some issues of relevant law as to the issues in this
mater. To date, no agreements as to relevant law have been made.


Defendants disputed legal issues:
       A.    TBD
       B.


agree upon are as follows:




       1.4    Iden�fy any unresolved issues as to service of process, personal jurisdic�on,
              subject mater jurisdic�on, or venue:




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There are no such unresolved issues.
       1.5        Iden�fy any named par�es that have not yet been served:


All par�es have been served.


       1.6     Iden�fy any addi�onal par�es that:


plain�ﬀ(s) intends to join: None.


defendant(s) intends to join: None.


       1.7     Iden�fy any addi�onal claims that:


plain�ﬀ(s) intends to add: None.


defendant(s) intends to add: None.


2.0 Disclosures
The undersigned counsel cer�fy that they have made the ini�al disclosures required by Federal
Rule of Civil Procedure 26(a)(1) or that they will do so within the �me provided by that rule.


       2.1    Separately for each party, list by name and �tle/posi�on each person whose
              iden�ty has been disclosed.


              Disclosed by Plain�ﬀ                    :


                             Name                          Title/Posi�on


Plain�ﬀ has no such ini�al disclosures re: individuals to make at this �me.




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                 Disclosed by    Defendants                :


                                Name                           Title/Posi�on
None made to date.




3.0    Early Mo�ons
       Iden�fy any mo�on(s) whose early resolu�on would likely have a signiﬁcant eﬀect either
       on the scope of discovery or other aspects of the li�ga�on:


       Nature of Mo�on                        Moving Party            An�cipated Filing Date


       Mo�on for Par�al Judgment on the Pleadings (Defendants) – Already Filed.


4.0    Discovery


       4.1         Brieﬂy describe any discovery that has been completed or is in progress:


By plain�ﬀ(s):


By defendant(s):


       4.2       Describe any discovery that all par�es agree should be conducted, indica�ng for
each discovery undertaking its purpose or what kinds of informa�on will be developed through
it: Deposi�ons of named par�es (Plain�ﬀ, Individual defendants, Corporate representa�ve(s) for
Shippensburg University (30B6)).




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       4.3       Describe any discovery that one or more par�es want(s) to conduct but to which
                 another party objects, indica�ng for each such discovery undertaking its purpose
                 or what kinds of informa�on would be developed through it:
None iden�ﬁed presently.


       4.4       Iden�fy any subject area limita�ons on discovery that one or more par�es would
                 like imposed, at the ﬁrst stage of or throughout the li�ga�on:


       4.5       For each of the following discovery tools, recommend the per-party or per-side
                 limita�on (specify a number) that should be ﬁxed, subject to later modiﬁca�on by
                 s�pula�on or court order on an appropriate showing (where the par�es cannot
                 agree, set forth separately the limits recommended by plain�ﬀ(s) and by
                 defendant(s)):


                 4.5.1 deposi�ons (excluding experts) to be taken by:
plain�ﬀ: 10             defendant(s): 10 (total)


                 4.5.2 interrogatories to be served by:
plain�ﬀ(s): 30          defendant(s): 30


                 4.5.3 document produc�on requests to be served by:
plain�ﬀ(s): 30          defendant(s): 30


                 4.5.4 requests for admission to be served by:
plain�ﬀ(s): 30          defendant(s): 30


       4.6       Discovery of Electronically Stored Informa�on




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Counsel cer�fy that they have conferred about the maters addressed in M.D. Pa LR 26.1 and
that they are in agreement about how those maters will be addressed in discovery. So
cer�ﬁed.


Counsel cer�fy that they have conferred about the maters addressed in M.D. Pa. LR 26.1 and
that they are in agreement about how those maters will be addressed in discovery with the
following excep�ons: No excep�ons.


5.0 Protec�ve Order
      5.1     If entry of a protec�ve order is sought, atach to this statement a copy of the
              proposed order. Include a statement jus�fying the propriety of such a protec�ve
              order under exis�ng Third Circuit precedent.


      5.2     If there is a dispute about whether a protec�ve order should be entered, or about
              certain terms of the proposed order, brieﬂy summarize each party's posi�on
              below:


6.0 Scheduling


       6.1       Final date for joining addi�onal par�es:
                 Complete          Plain�ﬀ(s)
              Complete _______Defendants(s)
       6.2    Final date for amending pleadings:
              Complete             Plain�ﬀ(s)
              Complete _______Defendants(s)


      6.3     All fact discovery commenced in �me to be completed by:
      30 June 2023
      6.4     All poten�ally disposi�ve mo�ons should be ﬁled by:
      31 July 2023




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       6.5      Reports from retained experts due:
                from plain�ﬀ(s) by: 31 July 2023
                from defendant(s) by: 31 July 2023


       6.6      Supplementa�ons due:
       15 September 2023
       6.7      All expert discovery commenced in �me to be completed by:

       13 October 2023

       6.8          This case may be appropriate for trial in approximately:
                     240     Days from the ﬁling of the ac�on in this court
                X     365     Days from the ﬁling of the ac�on in this court
                     600 Days from the ﬁling of the ac�on in this court


       6.9      Suggested Date for the ﬁnal Pretrial Conference: December 2023 (month/year)


       6.10     Trial


                6.10.1 Suggested Date for Trial: Jan 2024             (month/year)


7.0    Cer�ﬁca�on of Setlement Authority (All Par�es Shall Complete the Cer�ﬁca�on)
I hereby cer�fy that the following individual(s) have setlement authority.
       Name:               Jason E. Piat, Esq.
       Title               Counsel for Plain�ﬀ
       Address             20 E 6th St, Suite 205, Waynesboro, PA 17268
       Day�me Telephone           (717) 655-5487


       Name:               Daniel P. McGannon, Esq.
       Title:              Counsel for Defendants
       Address:             Pennsylvania Oﬃce of Atorney General


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                       14th Floor, Strawberry Square, Harrisburg, PA 17120
       Day�me Telephone:       717-775-5176


8.0 Alterna�ve Dispute Resolu�on ("ADR")


       8.1     Iden�fy any ADR procedure to which this case already has been assigned or which
               the par�es have agreed to use.


                ADR procedure


               Date ADR to be commenced:
               Date ADR to be completed:

       8.2     If the par�es have been unable to agree on an ADR procedure, but one or more
               par�es believe that the case is appropriate for such a procedure, iden�fy the party
               or par�es that recommend ADR and the speciﬁc ADR process recommended:
       8.3     If all par�es share the view that no ADR procedure should be used in this case, set
               forth the basis for that view:
The par�es and counsel are open to ADR, however selec�on and par�cipa�on at this �me is
premature.


9.0    Consent to Jurisdic�on by a Magistrate Judge
       Indicate whether all par�es agree, pursuant to 28 U.S.C. 636(c)(1), to have a magistrate
       judge preside as the judge of the case with appeal lying to the United States Court of
       Appeals for the Third Circuit:
All par�es agree to jurisdic�on by a magistrate judge of this court:   Y X N.


       If par�es agree to proceed before a magistrate judge, please indicate below which
       loca�on is desired for the proceedings:
                         Scranton/Wilkes-Barre



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                         Harrisburg
                         Williamsport


10.0   Other Maters
       Make any other sugges�ons for the case development process, setlement, or trial that
       may be useful or necessary to the eﬃcient and just resolu�on of the dispute.



11.0   Iden�ﬁca�on of Counsel
       Counsel shall be registered users of the courts Electronic Case Filing System (ECF) and shall
       ﬁle documents electronically in accordance with the Local Rules of Court and the Standing
       Order RE: Electronic Case Filing Policies and Procedures. Electronic ﬁling is required
       unless good cause is shown to the Chief Judge why counsel cannot comply with this policy.
       Any request for waiver of electronic ﬁling must be ﬁled with the Clerk’s Oﬃce prior to the
       case management conference. The Chief Judge may grant or deny such request.


       Iden�fy by name, address, and telephone number lead counsel for each party.
       Also please indicate ECF User status below.


Dated: 05/24/23             Jason E. Piat, Esq., Atorney for Plain�ﬀ
                     X       ECF User(s)

                             Waiver requested (as separate document)

                              Fed.R.Civ.P.7.1 (statement ﬁled if necessary)*


Dated: 05/24/2023            Daniel P. McGannon, Esq., Atorneys(s) for Defendant(s)
                     X       ECF User(s)

                             Waiver requested (as separate document)

                              Fed.R.Civ.P.7.1 (statement ﬁled if necessary)*




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* Fed.R.Civ.P.7.1 requires a nongovernmental corporate party to ﬁle a statement with the ini�al
pleading, ﬁrst entry of appearance, etc., that iden�ﬁes any parent corpora�on and any publicly
held corpora�on that owns 10% or more of its stock, or state there is no such corpora�on.




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